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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    The State of Texas, et al.,

                            Plaintiffs,                   Case No. 4:20-cv-00957-SDJ

    v.                                                    Hon. Sean D. Jordan

    Google LLC,
                                                          Special Master: David T. Moran
                            Defendants.


                           UNOPPOSED MOTION TO FILE UNDER SEAL

          Plaintiff States (“States”) respectfully move the Court for leave to file under seal Exhibits

A and D (including Exhibit 1 to Exhibit A1) (the “Confidential Exhibits”) to their Opening Brief

to the Special Master for the March 7, 2024 Hearing. Consistent with Local Rule CV-5, the States

will file redacted versions of the Confidential Exhibits within seven (7) days. Defendant Google

LLC (“Google”) does not oppose the States’ sealing request.

          The Confidential Exhibits contain references to and discussion of documents produced by

Google that have been designated as “Confidential,” as well as names of Google employees that

Google has requested be kept confidential.

          Although “the public has a common law right to inspect and copy judicial records,” courts

“must balance the public’s common law right of access against the interests favoring

nondisclosure.” S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993) (citations omitted).

Good cause to allow sealing exists here, where the Confidential Exhibits contain references to and

discussion of materials that have been designated as “Confidential” by another party.




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    Due to their format and size, the States have not filed Exhibits 2 and 3 to Exhibit A.
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       For the reasons stated above, the States respectfully request that this Court allow the States

to file the Confidential Exhibits under seal.


Dated: February 27, 2024.


Respectfully submitted,

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Submitted on behalf of all Plaintiff States




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                            CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) and that Google LLC does not oppose the foregoing sealing request.

                                                /s/ W. Mark Lanier
                                                W. Mark Lanier




                               CERTIFICATE OF SERVICE

       I certify that on February 27, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                /s/ W. Mark Lanier
                                                W. Mark Lanier




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